                      Case 4:14-cr-00010-DPM                     Document 537           Filed 11/12/15           Page 1 of 5
A0245B        (Rev 09/11) Judgment in a Cnmmal Case
              Sheet I
                                                                                                                               GI    1ARv.J
                                                                                                                                        rv-.NSAS

                                         UNITED STATES DISTRICT COURT                                               ~NOV 12 2015
                                                                                                         -JAMES              ~~
                                                            Eastern District of Arkansas                  By:_               ll.ltJi~

             UNITED STATES OF AMERICA                                     ))     JUDGMENT IN A CRIMINAL CASE~
                                 v.                                       )
                    BERTHA LEE GRIFFIN                                    )
                                                                          )
                                                                                 Case Number: 4: 14CR00010-23 JLH
                                                                          )      USM Number: 28568-009
                                                                           )
                                                                           )               W. Borkowski

THE DEFENDANT:
[ifpleaded guilty to count(s)         Count 1ss of                 Information

  pleaded nolo contendere to count(s)
  which was accepted by the court.
  was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                           Offense Ended               Count
18 u.s.c. § 4                    Misprision of a felony, a Class E felony                                    6/5/2013                     1ss




       The defendant is sentenced as provided in pages 2 through           __5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
~Count(s)       21, 21s                                     is     rrtare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           11112/2015




                                                                           J. Leon Holmes                               U.S. District
                                                                          Name


                                                                                       5
                          Case 4:14-cr-00010-DPM                 Document 537             Filed 11/12/15          Page 2 of 5
AO 2458        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 4--Probation
                                                                                                             Judgment-Page _ _ _ of
DEFENDANT: BERTHA LEE GRIFFIN
CASE NUMBER: 4:14CR00010-23 JLH
                                                                   PROBATION

The defendant is hereby sentenced to probation for a term of:

 TWO (2) YEARS




The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 1S days of placement on probation and at least two periodic drug tests
thereafter, as detennined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable)
          The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applrcable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by th is court as well as with any additional conditions
on the attached page.

                                            STAND ARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)       the defendant shall not associate with any J?ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall Rermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
 11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)        as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
            record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
AO 2458
                   Case 4:14-cr-00010-DPM
          (Rev. 09/11) Judgment in a Criminal Case
                                                     Document 537       Filed 11/12/15       Page 3 of 5
          Sheet 4A - Probation
                                                                                        Judgment-Page   _3_ of           5
DEFENDANT: BERTHA LEE GRIFFIN
CASE NUMBER: 4:14CR00010-23 JLH

                                              ADDITIONAL PROBATION TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.

 15) The defendant must participate in a mental health program under the guidance and supervision of the probation office.

 16) The defendant must participate in cognitive behavioral treatment under the guidance and supervision of the probation
 office.
AO 245B
                    Case 4:14-cr-00010-DPM
          (Rev 09/ll)Judgment in a Criminal Case
                                                               Document 537              Filed 11/12/15                 Page 4 of 5
          Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment -    Page         of
DEFENDANT: BERTHA LEE GRIFFIN
CASE NUMBER: 4:14CR00010-23 JLH
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                          Fine                                     Restitution
TOTALS            $ 100.00                                            $ 500.00                                 $ 0.00


     The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be entered
                                                              ----
     after such determination.

0    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned J?a)'f!lent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                             Total Loss*           Restitution Ordered Priority or Percentai:e




TOTALS                             $                          0.00                                    0.00


0     Restitution amount ordered pursuant to plea agreement $

O    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

'i/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    ri/ the interest requirement is waived for the 'i/ fine 0 restitution.
      0   the interest requirement for the         0   fine    0     restitution is modified as follows:



*Findings for the total amount oflosses are required under Chapters 109A, 110, I JOA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 2458
                     Case 4:14-cr-00010-DPM
           (Rev. 09/11) Judgment in a Crimmal Case
                                                               Document 537              Filed 11/12/15           Page 5 of 5
           Sheet 6- Schedule of Payments
                                                                                                                               5__ of
                                                                                                             Judgment - Page _ _
DEFENDANT: BERTHA LEE GRIFFIN
CASE NUMBER: 4:14CR00010-23 JLH

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    rl/ Lump sum payment of$ _1O_O_._o_o_~····-- due immediately, balance due
           D     not later than                                    , or
           D     in accordance          D     C,     D    D,   D     E, or    D F below; or

B    D    Payment to begin immediately (may be combined with                 DC,       OD, or           F below); or

c    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ over a period of
                          (e.g., months or years), to commence        ______ (e.g.. 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g.. months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D     Payment during the term of supervised release will commence within - · - - - ( e . g . , 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    rl/ Special instructions regarding the payment o~iminal monetary penalties:    S-c )v/t-
          The fine is payable within the first~ mo~ of probation. Payments will be $tee per month until satisfied.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D   Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

 D   The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5J fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
